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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                )
In re:                                                          ) Chapter 15
                                                                )
ESSAR STEEL ALGOMA INC., et al.,1                               ) Case No. 14-[___] ([___])
                                                                )
                 Debtors in a foreign proceeding                ) (Joint Administration Requested)
                                                                )

     FOREIGN REPRESENTATIVE’S MEMORANDUM OF LAW IN SUPPORT OF
(I) VERIFIED CHAPTER 15 PETITIONS AND (II) MOTION FOR ORDERS GRANTING
      PROVISIONAL AND FINAL RELIEF IN AID OF FOREIGN PROCEEDING

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Co-Counsel for the Foreign Representative

Dated: July 16, 2014




1   The Debtors in the foreign proceeding, along with the last four digits of the United States Tax Identification
    Number, Canadian Business Number or Netherlands Chamber of Commerce Number, as applicable, of each of
    the Debtors, are: Algoma Holdings B.V. (1679); Cannelton Iron Ore Company (9965); Essar Steel Algoma Inc.
    (0642); Essar Steel Algoma Inc. USA (8788); Essar Steel Canada Inc. (8779). The location of the Debtors’
    corporate headquarters and the service address for all of the Debtors is: 105 West Street, Sault Ste. Marie,
    Ontario P6A 7B4, Canada.



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        Essar Steel Algoma Inc. (“Algoma”), is the authorized foreign representative (the

“Foreign Representative”) of the above-captioned debtors (collectively, the “Debtors”) in a

proceeding (the “Canadian Proceeding”) under the section 192 of the Canada Business

Corporations Act, R.S.C. 1985, c. C-44, as amended (the “CBCA”) pending before the Ontario

Superior Court of Justice, Commercial List (the “Canadian Court”). On the date hereof, the

Foreign Representative commenced the above-captioned chapter 15 cases (collectively, the

“Chapter 15 Cases”) by filing verified petitions and the Foreign Representative’s Motion for

Orders Granting Provisional and Final Relief in Aid of Foreign Proceeding (the “Recognition

Motion,” and, together with the petitions, the “Petitions for Recognition”),1 seeking (a) entry of a

provisional order in the form attached thereto as Exhibit A (the “Provisional Order”):

(i) recognizing and enforcing in the United States, on an interim basis, the interim order (the

“Preliminary CBCA Order”) issued on July 16, 2014 by the Canadian Court, (ii) applying

sections 362 and 365(e) of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the

“Bankruptcy Code”), in the Chapter 15 Cases on an interim basis pursuant to sections

1519(a)(3), 1521(a)(7), and 105(a) of the Bankruptcy Code, and (iii) granting such other and

further relief as the Court deems just and proper; and (b) entry of a final order, after notice and a

hearing, substantially in the form attached thereto as Exhibit B (the “Final Order”): (i) granting

the petitions in these cases and recognizing the Canadian Proceeding as a foreign main

proceeding pursuant to section 1517 of the Bankruptcy Code, (ii) giving full force and effect in

the United States to the Preliminary CBCA Order, including any extensions or amendments

thereof authorized by the Canadian Court and extending the protections of the Provisional Order

to the Debtors on a final basis, and (iii) granting such other and further relief as the Court deems


1   Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the
    Recognition and Relief Motion.
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just and proper. The Foreign Representative respectfully submits this Memorandum of Law in

support of the Petitions for Recognition.

                                      Preliminary Statement

       1.      The Foreign Representative is authorized by the Debtors and approved by the

Canadian Court to, among other things, assist the Debtors in these proceedings, report to the

Canadian Court, and take such actions as may be necessary or appropriate in furtherance of the

recognition of the Canadian Proceeding. In furtherance of its duties, the Foreign Representative

seeks (a) entry of the Provisional Order granting certain provisional relief to preserve and protect

the Debtors’ assets in the United States pending a final hearing on the Petitions for Recognition,

and (b) entry of the Final Order, after notice and a hearing, granting recognition of the Canadian

Proceeding as a foreign main proceeding and granting relief similar to that granted by the

Provisional Order on a final basis. Absent the relief requested, the Canadian Proceeding could

be undermined, the Debtors’ restructuring efforts could be jeopardized, and the Debtors, their

creditors, and other parties in interest could suffer irreparable harm.

       2.      The ultimate purpose of the Canadian Proceeding is to restructure the Debtors’

unsecured debt obligations for the long-term benefit of their creditors and stakeholders. The

Foreign Representative believes that granting the additional relief sought herein will best assure

the fair and efficient administration of the Canadian Proceeding and maximize the value of the

Debtors’ business for the benefit of creditors, all of which is consistent with the principles set

forth in chapter 15 of the Bankruptcy Code and the public policy of the United States.

       3.      Chapter 15 of the Bankruptcy Code authorizes the Court to recognize a “foreign

proceeding,” as defined by section 101(23) of the Bankruptcy Code, upon the proper

commencement of a case under chapter 15 by a “foreign representative,” as defined by section

101(24) of the Bankruptcy Code. Chapter 15 further authorizes the Court to grant assistance in


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the United States to a foreign representative in connection with a foreign proceeding, including

by granting injunctive and other relief pursuant to sections 1519, 1520, and 1521 of the

Bankruptcy Code.

       4.     The Petitions for Recognition satisfy all of the requirements set forth in sections

1515, 1517, 1519, 1520, and 1521 of the Bankruptcy Code, as applicable. Moreover, the relief

requested therein is necessary and appropriate under chapter 15 of the Bankruptcy Code.

Finally, granting recognition of the Canadian Proceeding and the related relief requested by the

Foreign Representative is consistent with the goals of international cooperation with and

assistance to foreign courts recognized by section 1501(a) of the Bankruptcy Code.

                                     Factual Background

       5.     The Court is respectfully referred to the Petitions for Recognition and the

Declaration of J. Robert Sandoval in Support of (I) Verified Chapter 15 Petitions, (II) Foreign

Representative’s Motion for Orders Granting Provisional and Final Relief in Aid of Foreign

Proceeding, and (III) Certain Related Relief (the “Sandoval Declaration”) and the Declaration of

John Ciardullo in Support of Verified Petition for Recognition and Related Relief (the “Ciardullo

Declaration”), filed contemporaneously herewith and containing the facts relied on in this

Memorandum of Law.        The Sandoval Declaration and the Ciardullo Declaration and are

incorporated herein by reference.

                                           Argument

I.     The Canadian Proceeding is Entitled to Recognition as a Foreign Main Proceeding.

       A.     The Court has Jurisdiction to Recognize the Canadian Proceeding and Grant
              the Relief Requested.

       6.     This Court has jurisdiction to hear and determine cases commenced under the

Bankruptcy Code and all core proceedings arising thereunder pursuant to 28 U.S.C. §§ 157 and



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1334 and section 1501 of the Bankruptcy Code, as well as the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated as of

February 29, 2012. A case under chapter 15 is a “case” under the Bankruptcy Code.

        7.     Recognition of foreign proceedings and other matters under chapter 15 of the

Bankruptcy Code have expressly been designated as core proceedings pursuant to 28 U.S.C.

§ 157(b)(2)(P).

        8.     Venue is proper in this District under 28 U.S.C. § 1410. Additionally, the Foreign

Representative respectfully submits that having each of the Debtors’ chapter 15 cases heard

before the same court is consistent with the interests of justice and the convenience of the parties,

having regard to the relief sought by the Petitions for Recognition, as provided by 28 U.S.C. §

1410.

        B.     These Cases Are Proper Under Chapter 15.

        9.     Chapter 15 of the Bankruptcy Code applies where a foreign representative seeks

the assistance of a United States bankruptcy court in connection with a foreign proceeding. 11

U.S.C. § 1501(b)(1). The Debtors’ cases are proper under chapter 15 because (a) these cases

concern a “foreign proceeding”; (b) these cases were commenced by Algoma, a duly authorized

“foreign representative”; (c) the Petitions for Recognition, and all required supporting

documentation, were properly filed; and (d) the relief sought by the Petitions for Recognition is

consistent with the objectives of chapter 15.

               1.      The Canadian Proceeding Is a “Foreign Proceeding.”

        10.    Section 101(23) of the Bankruptcy Code defines a “foreign proceeding” as:

               a collective judicial or administrative proceeding in a foreign
               country, including an interim proceeding, under a law relating to
               insolvency or adjustment of debt in which proceeding the assets
               and affairs of the debtor are subject to control or supervision by a
               foreign court, for the purpose of reorganization or liquidation.


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11 U.S.C. § 101(23).

         11.   As discussed in the Sandoval Declaration and more fully in the Ciardullo

Declaration, the Canadian Proceeding is a judicial proceeding brought under the CBCA that is

supervised by the Canadian Court.         The CBCA provides for a controlled reorganization

procedure designed to enable financially distressed companies to avoid foreclosure or seizure of

assets while maximizing the company’s value as a going concern for the benefit of creditors and

other parties in interest, and includes provisions for the adjustment of debt (i.e., “arrangements”)

under which companies may effect reorganizations. The Canadian Proceeding involves an

arrangement which restructures the claims and interests of the Debtors’ secured lenders,

unsecured debt holders, and equity holders. Like certain “prepackaged” bankruptcy cases in the

U.S., the claims of all other creditors, including employees, litigants, trade vendors, licensors and

other contract counterparties, and others, are unaffected by the recapitalization transaction.

Accordingly, the Company will continue to pay such creditors in the ordinary course.

         12.   As detailed in the Ciardullo Declaration, the Canadian Court supervises the

Debtors’ assets and affairs during the pendency of the Canadian Proceeding. Any party-in-

interest seeking to object to the arrangement may appeal to, and obtain relief from, the Canadian

Court.    The Canadian Court, through the Canadian Proceeding, is properly exercising its

jurisdiction over the Canadian Debtors and the U.S. Debtors, as provided under section 192 of

the CBCA.

         13.   Pursuant to the CBCA, on July 16, 2014, the Canadian court entered the

Preliminary CBCA Order. The Preliminary CBCA Order (a) provides for a stay of proceedings

against the Debtors; (b) provides certain protection for the Debtors’ secured creditors; (c)

appoints Algoma as foreign representative of the Debtors; and (d) authorizes the Debtors to




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apply to the Canadian Court for an order (i) specifying such items as the manner for calling and

holding a special meeting of the stakeholders (e.g., distribution of proxy materials, notice

periods, and time and place of meeting), the persons entitled to vote at the meeting, classes of

persons entitled to a separate class vote, and the acceptance thresholds for approval of the CBCA

Plan and/or (ii) seeking an extension of the stay. The Preliminary CBCA Order is attached to the

Sandoval Declaration as Exhibit A.

       14.     The Court’s ultimate recognition of the CBCA plan of arrangement, which,

among other things, releases and discharges certain liens and claims against the Debtors and/or

the Debtors’ assets, will provide certainty and closure to the Debtors’ reorganization.

       15.     Courts have previously recognized that a Canadian restructuring proceeding under

the CBCA constitutes a “foreign proceeding.” See In re Mega Brands Inc., Case No. 10-10485

(CSS) (Bankr. D. Del. Mar. 23, 2010); In re Tembec Indus., Inc., Case No. 08-13435 (RDD)

(Bankr. S.D.N.Y. Oct. 31, 2008).

       16.     Accordingly, the Canadian Proceeding qualifies as a “foreign proceeding” under

the Bankruptcy Code.

               2.      Essar Steel Algoma Inc. is a Proper “Foreign Representative.”

       17.     Section 101(24) of the Bankruptcy Code provides that:

               The term “foreign representative” means a person or body,
               including a person or body appointed on an interim basis,
               authorized in a foreign proceeding to administer the reorganization
               or the liquidation of the debtor’s assets or affairs or to act as a
               representative of such foreign proceeding.

11 U.S.C. § 101(24).




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        18.      The boards of directors of each of the Debtors previously met and appointed by

resolution the Foreign Representative.2 In addition, the Preliminary CBCA Order specifically

contemplates the commencement of these cases by Algoma, a “person” within the meaning of

section 101(41) of the Bankruptcy Code, to assist the Debtors and the Canadian Court in the

Debtors’ reorganization efforts, and Algoma was duly appointed by the Canadian Court to act as

the foreign representative of the Debtors pursuant to paragraphs 7 and 8 of the Preliminary

CBCA Order, which provides as follows:

                 7.     This Court orders that that Algoma is hereby authorized
                 and empowered, but not required, to act as the foreign
                 representative (the “Foreign Representative”) in respect of the
                 within proceedings for the purpose of having these proceedings
                 recognized in a jurisdiction outside of Canada.

                 8.     This Court orders that the Foreign Representative is hereby
                 authorized to apply for foreign recognition of these proceedings, as
                 necessary, in any jurisdiction outside of Canada, including as
                 “Foreign Main Proceedings” in the United States pursuant to
                 chapter 15 of title 11 of the United States Code, 11 U.S.C. §§ 101-
                 1532.

        19.      Accordingly, Algoma is a “foreign representative” as defined in the Bankruptcy

Code. Cf. In re SPhinX, Ltd., 351 B.R. 103, 116-17 (Bankr. S.D.N.Y. 2006) aff’d, 371 B.R. 10

(S.D.N.Y. 2007) (noting that the foreign representatives had submitted a “copy of the Cayman

Court’s order appointing them to administer the Debtors’ winding up under the Companies Law



2   A copy of the Debtors’ board resolutions appointing the Foreign Representative is attached to the Sandoval
    Declaration as Exhibit C. See In re Vitro, S.A.B. de C.V., 470 B.R. 408, 412 (N.D. Tex. 2012) aff’d sub nom. In
    re Vitro S.A.B. de CV, 701 F.3d 1031 (5th Cir. 2012) cert. dismissed, 133 S. Ct. 1862, 185 L. Ed. 2d 862 (U.S.
    2013) (recognizing that the board of directors of a corporation could authorize a person to act as the
    corporation’s foreign representative in a chapter 15 proceeding); In re Compania Mexicana de Aviacion, S.A. de
    C.V., Case No. 10-14182 (MG) (Bankr. S.D.N.Y. Nov. 8, 2010) (same). Moreover, section 1515(b) provides
    that in the absence of a “certified copy of the decision commencing such foreign proceeding and appointing the
    foreign representative” or “a certificate from the foreign court affirming the existence of such foreign
    proceeding and of the appointment of the foreign representative,” a petition for recognition should be
    accompanied by “any other evidence acceptable to the court of the existence of such foreign proceeding and of
    the appointment of the foreign representative.” 11 U.S.C. § 1515(b).



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and authorizing their commencement of these chapter 15 cases, thereby satisfying Bankruptcy

Code section 101(24)”).

               3.     The Foreign Representative Properly Filed These Cases.

       20.     These cases were duly and properly commenced as required by sections 1504 and

1509(a) of the Bankruptcy Code by the filing of the Petitions for Recognition pursuant to section

1515(a) of the Bankruptcy Code, which were accompanied by all documents and information

required by sections 1515(b) and (c). See In re Bear Stearns High-Grade Structured Credit

Strategies Master Fund, Ltd., 374 B.R. 122, 127 (Bankr. S.D.N.Y. 2007) (“A case under chapter

15 is commenced by a foreign representative filing a petition for recognition of a foreign

proceeding pursuant to section 1515 of the Bankruptcy Code”), aff’d, 389 B.R. 325 (S.D.N.Y.

2008). Because the Foreign Representative has satisfied the requirements set forth in section

1515 of the Bankruptcy Code, these cases have been properly commenced.

               4.     The Petitions for Recognition are Consistent with the Purpose of
                      Chapter 15.

       21.     One of the stated objectives of chapter 15 is the “fair and efficient administration

of cross-border insolvencies that protects the interests of all creditors, and other interested

entities, including the debtor.” 11 U.S.C. § 1501(a)(3). These cases have been commenced for

the purpose of obtaining the assistance of the Court to ensure the effective and economical

administration of the Canadian Proceeding by, among other things, restricting the Debtors’

creditors from taking certain actions in the United States that would undermine the unified,

collective, and equitable resolution of the Debtors’ liabilities in the Canadian Proceeding before

the Canadian Court. As such, the Petitions for Recognition are consistent with the purpose of

chapter 15 and the cross-border coordination they promote.




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       C.      The Canadian Proceeding is a “Foreign Main Proceeding” Under Sections
               1502(4) and 1517(b)(1) of the Bankruptcy Code.

       22.     The Foreign Representative respectfully submits that the Court should grant

recognition of the Canadian Proceeding as a “foreign main proceeding” as defined in section

1502(4) of the Bankruptcy Code. The Bankruptcy Code provides that a foreign proceeding is a

“foreign main proceeding” if it is pending in the country where the debtor has the center of its

main interests. 11 U.S.C. § 1517(b)(1). Many factors weigh into the center of main interests

analysis, including “the location of the debtor’s headquarters; the location of those who actually

manage the debtor; the location of the debtor’s primary assets; the location of the majority of the

debtor’s creditors or of a majority of the creditors who would be affected by the case; and/or the

jurisdiction whose law would apply to most disputes.” In re Bear Stearns, 374 B.R. at 127, 128

(citing In re SPhinX, Ltd., 351 B.R. 103, 117 (Bankr. S.D.N.Y. 2006)), aff’d, 371 B.R. 10

(S.D.N.Y. July 5, 2007)).

       23.     The center of main interests for the Debtors’ enterprise is Sault Ste. Marie,

Ontario, Canada. The Debtors are managed on a consolidated basis out of their corporate

headquarters in Sault Ste. Marie, Ontario. All corporate-level decision-making and corporate

administrative functions affecting the Debtors, including decisions on capital expenditures and

business development initiatives, are centralized in the Sault Ste. Marie office; indeed, the entire

management team is based in Sault Ste. Marie. Additionally, all active business operations of

the Debtors are undertaken and all steel producing assets of the Debtors are located entirely in

Canada.

       24.     Thus, based on the facts present in these cases, the Foreign Representative

respectfully submits that Sault Ste. Marie, Ontario, Canada should be found to be the center of

the Debtors’ main interests. See In re Tri-Continental Exch. Ltd., 349 B.R. 627, 634 (Bankr.



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E.D. Cal. 2006) (noting that a debtor’s center of main interests is the “place where the debtor

conducts the administration of his interests on a regular basis and is therefore ascertainable by

third parties”); In re ABC Learning Centres Ltd., 445 B.R. 318, 333 (Bankr. D. Del. 2010)

(noting same); In re Fairfield Sentry Ltd., 440 B.R. 60, 66 (Bankr. S.D.N.Y. 2010) (noting

same).

         25.   Further, courts have equated a company’s principal place of business to its center

of its main interests. See Id.; In re Bear Stearns, 374 B.R. at 127. As described above, all of the

Debtors’ corporate business is conducted from Canada. As such, Canada is “ascertainable by

third parties” as the Debtors’ center of main interests. In re Bear Stearns, 374 B.R. at 130.

Accordingly, given that the Canadian Proceeding is pending in Ontario, Canada, which is the

province of the Debtors’ center of main interests, the Canadian Proceeding should be recognized

as a foreign main proceeding pursuant to section 1517(b)(1) of the Bankruptcy Code.

         D.    Recognizing the Canadian Proceeding as a Foreign Main Proceeding is
               Consistent with the Purpose of Chapter 15 and Public Policy.

         26.   Section 1506 of the Bankruptcy Code provides that nothing in chapter 15 shall

prevent the court from refusing to take an action otherwise required therein if such action would

be manifestly contrary to the public policy of the United States. 11 U.S.C. § 1506. The Foreign

Representative submits that the relief requested is not manifestly contrary to, and is consistent

with, public policy of the United States.

         27.   One of the fundamental goals of the Bankruptcy Code is the centralization of

disputes involving the debtor. See, e.g., In re Ionosphere Clubs, Inc., 922 F.2d 984, 989 (2d Cir.

1990) (“The Bankruptcy Code ‘provides for centralized jurisdiction and administration of the

debtor, its estate and its reorganization in the Bankruptcy Court . . . .’”) (internal citations

omitted). Indeed, as one court has noted, “the firm policy of American courts is the staying of



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actions against a corporation which is the subject of a bankruptcy proceeding in another

jurisdiction.” Cornfeld v. Investors Overseas Servs., Ltd., 471 F. Supp. 1255, 1259 (S.D.N.Y.

1979) (recognizing that Canadian liquidation proceeding would not violate laws or public policy

of New York or the United States).

       28.     The Canadian Proceeding is similar to cases under chapter 11 of the Bankruptcy

Code because it provides for a centralized process to assert and resolve claims against an estate

and to provide distributions to creditors in order of priority.        Recognizing the Canadian

Proceeding and enjoining certain actions or proceedings with respect to the Debtors and their

assets will assist the orderly administration of the Debtors’ assets. Such orderly administration is

consistent with the public policy of the United States, as embodied in the Bankruptcy Code. If

all creditors are not enjoined, the U.S. Assets may be prematurely seized, or actions commenced,

and the orderly determination of claims in the foreign proceeding will be rendered impossible. If

creditors unilaterally pursue collection or enforcement efforts, or application of setoff, it could

diminish the value of the Debtors’ assets and cause significant delay and disruption to the

Debtors’ restructuring process. The purpose of chapter 15 is to prevent such harm. See 11

U.S.C. § 1501. Furthermore, this could result in unnecessary enforcement costs or the piecemeal

disposition of assets to the detriment of the Debtors and their stakeholders. Avoiding such

potential outcomes through the recognition of the Canadian Proceeding and enforcement of the

Preliminary CBCA Order in the United States is consistent with United States public policy, and

promotes the public policies embodied in the Bankruptcy Code.

       29.     Further, recognition of the Canadian Proceeding is consistent with the purpose of

chapter 15 and the UNCITRAL Model Law on Cross Border Insolvency. Section 1501(a) of the

Bankruptcy Code provides, in pertinent part, that:




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               The purpose of this chapter is to incorporate the Model Law on
               Cross-Border Insolvency so as to provide effective mechanisms for
               dealing with cases of cross-border insolvency with the objectives
               of -

                  (1)   cooperation between -

               ...

                     (B) the courts and other competent authorities of foreign
                         countries involved in cross-border insolvency cases;

               ...

                  (3) fair and efficient administration of cross-border
                  insolvencies that protects the interests of all creditors, and other
                  interested entities, including the debtor; [and]

                  (4) protection and maximization of the value of the debtor’s
                  assets.

11 U.S.C. § 101(24).

       30.     The relief requested by the Foreign Representative is consistent with the

objectives of chapter 15. Recognition of the Canadian Proceeding would foster cooperation

between courts in Canada and the United States in the Debtors’ restructuring proceedings. By

granting recognition to the Canadian Proceeding and enforcing the Preliminary CBCA Order in

the United States, the Court can effectively assist the Canadian Court in the orderly

administration of the Debtors’ assets.       The Debtors’ creditors would be enjoined from

commencing or continuing actions against the Debtors and the assets of the Debtors, thereby

assisting in the uniform resolution of claims against the Debtors.

       31.     Additionally, recognition of the Canadian Proceeding would promote the fair and

efficient administration of a cross-border reorganization procedure that protects the interests of

all creditors and interested entities. By recognizing the Canadian Proceeding and granting the

relief requested, the process of resolving claims against the Debtors would be centralized in

Canada. Claims would be treated in accordance with a plan of arrangement that comports with


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Canadian law, which is substantially similar to United States law, and any disputes would be

subject to the uniform jurisdiction of one tribunal, the Canadian Court. If creditors’ actions with

respect to the Debtors’ United States assets are not effectively stayed, the uniform and orderly

voluntary administration of the Debtors in the Canadian Proceeding will be jeopardized.

II.    The Provisional Relief Requested by the Foreign Representative is Within the Scope
       of Section 1519 of the Bankruptcy Code and Appropriate Under the Circumstances.

       32.     Pursuant to the Recognition Motion, the Foreign Representative also seeks entry

of an order making sections 362 and 365(e) of the Bankruptcy Code applicable in these ancillary

cases on a provisional basis pending entry of the Final Order pursuant to sections 1519(a)(3),

1521(a)(7), and 105(a) of the Bankruptcy Code. As noted, the Foreign Representative believes

that application of the automatic stay in these cases is crucial to prevent irreparable injury to the

value of the Debtors’ assets by not subjecting them to diminution in value resulting from the

collection or enforcement efforts of creditors prior to the disposition of the Petitions for

Recognition. Further, and as described more fully in the Recognition Motion, the Foreign

Representative believes the application of section 365(e) is necessary to protect against the

disruption to business operations and interference with reorganization efforts that would result

from such exercise of remedies by contract counterparties and others.

       A.      The Relief Requested is Authorized by Sections 1519(a)(3), 1521(a)(7), and
               105(a).

       33.     Section 1519(a)(3) of the Bankruptcy Code authorizes the Court to grant, on a

provisional basis, any relief available pursuant to section 1521(a)(7).         Section 1521(a)(7)

provides that the Court may grant any relief available to a trustee, subject to certain exceptions

not relevant here. The automatic stay of section 362 is an essential feature of the Bankruptcy

Code. Although not automatic upon filing, the Court has discretion to grant section 362 relief on

a provisional basis pursuant to sections 1519(a)(3) and 1521(a)(7) of the Bankruptcy Code. In


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addition, section 105(a) of the Bankruptcy Code further allows the Court to “issue any order . . .

necessary or appropriate to carry out the provisions of [title 11 ].”

       34.     The provisional application of section 362 of the Bankruptcy Code, among others,

has been approved in several cases, both within and outside of this jurisdiction. See, e.g., In re

Elpida Memory, Inc., No. 12-10947 (Bankr. D. Del. Mar. 21, 2012) (applying section 362 of the

Bankruptcy Code on a provisional basis to the actions of all creditors against the debtors and

their property located within the United States, pursuant to section 1519 of the Bankruptcy

Code); In re Arctic Glacier Int’l Inc., No. 12-10605 (Bankr. D. Del. Feb. 23, 2012) (granting

provisional relief, through sections 1519 and 1521 of the Bankruptcy Code, sections 108, 362,

and 365(e)); In re Nortel Networks UK Ltd., No. 09-11972 (Bankr. D. Del. Oct. 27, 2010)

(granting provisional relief, including protections of automatic stay); In re Innua Canada Ltd.,

No. 09-16362 (Bankr. D.N.J. Mar 25, 2009) (same). As further set forth below, provisional

application of section 362 of the Bankruptcy Code is appropriate here, and in the best interests of

the Debtors and their creditors.

       35.     The provisional application of section 365(e) of the Bankruptcy Code has been

approved by courts in this jurisdiction. See, e.g., In re MAAX Corp., Case No. 08-11443 (CSS)

(Bankr. D. Del. July 14, 2008) (applying, pursuant to section 1519 of the Bankruptcy Code,

section 365(e) on a provisional basis to protect against contract termination); In re Cinram

International Inc., Case No. 12-11882 (KJC) (Bankr. D. Del. Jun. 26, 2012) (same); In re

Catalyst Paper Corp., Case No. 12-10221 (PJW) (Bankr. D. Del. Jan. 19, 2012) (same).

       B.      The Relief Requested is Necessary and Appropriate to Prevent Irreparable
               Harm.

       36.     Relief pursuant to section 1519 of the Bankruptcy Code is available where the

foreign representative can satisfy the standard for injunctive relief. 11 U.S.C. § 1519(e); In re



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Innua Canada Ltd., No. 09-16362, 2009 WL 1025088, at *3 (Bankr. D.N.J. Mar. 25, 2009). In

the Third Circuit, the factors considered for injunctive relief include “(1) whether the movant has

shown a reasonable probability of success on the merits; (2) whether the movant will be

irreparably injured by denial of the relief; (3) whether granting preliminary relief will result in

even greater harm to the nonmoving party; and (4) whether granting the preliminary relief will

be in the public interest.” United States v. Bell, 414 F.3d 474, 478 n.4 (3d Cir. 2005) (citing

ACLU of N.J. v. Black Horse Pike Reg’l Bd. of Educ., 84 F.3d 1471, 1477 n. 2 (3d Cir. 1996)).

See also Rogers v. Corbett, 468 F.3d 188, 192 (3d Cir. 2006) (citations omitted); Kos Pharm.,

Inc. v. Andrx Corp., 369 F.3d 700, 708 (3d Cir. 2004) (citations omitted).

       37.     The greater the relative hardship to the party seeking the preliminary relief, the

less probability of success must be shown. Clear Channel Outdoor, Inc. v. City of Los Angeles,

340 F.3d 810, 813 (9th Cir. 2003).       In the cross-border restructuring context, courts have

consistently recognized that “the premature piecing out of property involved in a foreign

liquidation proceeding constitutes irreparable injury.” In re Lines, 81 B.R. 267, 270 (Bankr.

S.D.N.Y 1988). The Foreign Representative submits that this standard is satisfied here and that

it is therefore entitled to the requested provisional relief pursuant to section 1519 of the

Bankruptcy Code, including the entry of the Provisional Order.

               1.     There is a Substantial Likelihood of Recognition of the Foreign
                      Proceeding.

       38.     As set forth above, the Foreign Representative has provided a solid basis for

recognition of the Canadian Proceeding, and has thereby more than demonstrated a reasonable

probability that such proceeding will be recognized as a foreign main proceeding. Based on the

facts that (a) the Canadian Proceeding is pending in Canada, which is the location of the

Debtors’ center of main interests, (b) all proper supporting documentation was filed



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contemporaneously with the Verified Petitions, and (c) these cases were properly commenced by

a duly appointed foreign representative, there is a high likelihood that recognition of the

Canadian Proceeding as a foreign main proceeding will be granted.

              2.      The Debtors Will Suffer Irreparable Injury if the Provisional Order is
                      Not Entered.

       39.    The Foreign Representative believes that application of provisional relief pursuant

to section 362 of the Bankruptcy Code in these cases is critical to the prevention of irreparable

damage to the Debtors’ reorganization proceeding in Canada. These cases were commenced for

the purpose of obtaining the assistance of the Court in respect of the Canadian Proceeding and to

give effect in the United States to the Preliminary CBCA Order of the Canadian Court. As noted

in the Recognition and Relief Motion and the Sandoval Declaration, Holdings and Cannelton are

guarantors of the Senior Secured Notes and the Avenue Loan , and Cannelton is a guarantor of

the Unsecured Notes, and each also has assets in the United States and/or stock of the principal

Debtor, Algoma. ESAI USA also has assets in the United States. Such assets include office

leases (the “U.S. Leases”) in Chicago, IL, New York, NY, and Minneapolis, MN. In addition,

ESAI USA holds two separate bank accounts (the “U.S. Bank Accounts”) at Bank of America—

one in Richmond, VA and the other, in Atlanta, GA, which, as of June 30, 2014 hold $14,965.01

and $41,869.78, respectively. Furthermore, each of the Debtors’ credit instruments (the “Credit

Instruments” and together with the U.S. Leases and the U.S. Bank Accounts, the “U.S. Assets”)

is governed by U.S. law and each of the lenders thereto are located in the U.S. The Debtors’ and

lenders’ respective rights are governed by U.S. Law. Of course, the Debtors’ contractual rights

are property of the Debtor. Unless the Provisional Order is entered, the Debtors face the

possibility of immediate and irreparable harm from potential actions being brought against

Holdings and/or Cannelton in the United States seeking to enforce their guarantees of the Senior



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Notes, the Avenue Loan, and/or the Unsecured Notes or to recover in respect of the U.S. Assets.

This type of decentralized administration of the Debtors’ assets could be extremely prejudicial to

the Debtors’ reorganization process, and could serve to hinder the Canadian Proceeding.

       40.     With respect to the potential for collection activity on a piecemeal basis, a number

of courts have recognized the need for provisional relief to prevent individual creditors from

taking extrajudicial advantage of the recognition process. See Victrix S.S. Co., S.A. v. Salen Dry

Cargo, A.B., 825 F.2d 709, 713-14 (2d Cir. 1987) (harm to an estate exists where the orderly

determination of claims and the fair distribution of assets are disrupted); In re Banco Nacional de

Obras y Servicios Publicos, S.N.C., 91 B.R. 661, 664 (Bankr. S.D.N.Y. 1988) (stating that

injunctive relief is necessary “to prevent individual American creditors from arrogating to

themselves property belonging to the creditors as a group”); In re Lines, 81 B.R. at 270 (stating

that “the premature piecing out of property involved in a foreign liquidation proceeding

constitutes irreparable injury”).

       41.     If all creditors are not enjoined, the U.S. Assets may be prematurely seized, or

actions commenced, and the orderly determination of claims in the foreign proceeding will be

rendered impossible. If creditors unilaterally pursue collection or enforcement efforts, or

application of setoff, it could diminish the value of the Debtors’ assets and cause significant

delay and disruption to the Debtors’ restructuring process. The purpose of chapter 15 is to

prevent such harm. See 11 U.S.C. § 1501.

       42.     In addition, without the protections afforded by section 365(e) of the Bankruptcy

Code, the Debtors may lose valuable rights and benefits thereunder. The relief requested in the

Recognition and Relief Motion is necessary to protect against the disruption to business

operations and interference with reorganization efforts that would result from such exercise of




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remedies by lenders, contract counterparties, and others. Absent this relief, the Debtors and their

creditors may suffer irreparable harm.

        43.     Accordingly, the Debtors respectfully request that, pending the hearing on the

Final Order, the Provisional Order be approved in all respects and that the terms and provisions

of the Provisional Order be implemented and that, after the Final Hearing, the Final Order be

approved in all respects and the terms and provision of the Final Order be implemented.

                3.      There Will Be No Greater Harm to Creditors if the Relief is Granted.

        44.     In contrast to the hardships described above, preservation of the status quo

through imposition of the automatic stay while the Foreign Representative and the Debtors

undertake the reorganization process in the Canadian Proceeding will not prejudice creditors.

The relief requested in the Recognition Motion is intended to be temporary, extending only

through the disposition of the Petitions for Recognition.         If recognition of the Canadian

Proceeding is granted, the same relief being requested on a provisional basis would come into

effect automatically. Moreover, the Provisional Order specifically provides that any creditor that

believes it has been harmed by the provisional relief granted therein may file a motion with the

Court seeking relief therefrom.

        45.     In fact, the Foreign Representative believes that granting the request for

provisional relief will benefit the Debtors’ creditors because it will ensure the value of the

Debtors’ assets are preserved and maximized for the benefit of all creditors. Accordingly, the

balance of the hardships tips decidedly in favor of the Debtors, as there will be negligible, if any,

harm to others if the relief is granted.

        46.     The Debtors will provide certain adequate protection to the holders of Secured

Notes, lenders under the ABL Facility, and Avenue Capital in consideration for the Debtors’ use




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of assets during the pendency of the Canadian Proceeding and these chapter 15 cases. Such

adequate protection will be in the form of:

             a. payment of actual, reasonable and documented fees and expenses of (x)
                White & Case LLP and Osler, Hoskin & Harcourt LLP, each in
                connection with serving as legal counsel to Deutsche Bank Trust
                Company Americas, as administrative agent for the ABL Facility, and (y)
                Pillsbury Winthrop Shaw Pittman LLP in connection with serving as legal
                counsel to Wilmington Trust Company, as trustee for the Secured Notes
                Indenture, in each case of (x) and (y) whether incurred before or after the
                Petition Date in connection with the Canadian Proceeding and these
                chapter 15 cases;

             b. unless otherwise agreed, compliance with the “Borrowing Base” (as such
                term is defined in the ABL Credit Agreement);

             c. delivery of the Budget as defined in the Term Sheet to Deutsche Bank
                Trust Company Americas, as administrative agent for the ABL Facility,
                and Wilmington Trust Company, as trustee for the Secured Notes
                Indenture and collateral agent under the Avenue Credit Agreement;
                provided that Deutsche Bank Trust Company Americas and Wilmington
                Trust Company may deliver such Budget to the lenders under the ABL
                Facility, on the one hand, and the Avenue Credit Agreement and the
                holders under the Secured Notes Indenture, on the other hand, so long as
                such lenders and holders have executed a non-disclosure agreement
                satisfactory to the Debtors; and

             d. payment of any unpaid interest accrued and owed under the ABL Facility,
                the Secured Notes Indenture, and the Avenue Credit Agreement during the
                post-petition period as and when due under the applicable credit
                documents; provided that such interest shall accrue and be owed at the
                non-default rate set forth in such credit documents.

       47.      The Foreign Representative submits that there will be little, if any, harm to

creditors if the Foreign Representative’s request for provisional relief is granted; indeed, harm

will come to the Debtors’ creditors if the provisional relief is not granted.

                4.      Granting the Requested Relief is Consistent with U.S. Public Policy.

       48.      Granting the provisional relief requested in the Recognition Motion will help

advance the purpose of chapter 15, “to provide effective mechanisms for dealing with cases of

cross-border insolvency,” with the express objectives of cooperation between United States


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courts, trustees, examiners, debtors, the courts, and other competent authorities of foreign

countries; greater legal certainty for trade and investment; fair and efficient administration of

cross-border insolvencies that protects the interests of all creditors and other interested entities,

including the debtor; the protection and maximization of the debtor’s assets; and the facilitation

of the rescue of financially troubled businesses. 11 U.S.C. § 1501(a)(1)-(5); See also In re

SPhinX, Ltd., 351 B.R. 103, 112 (Bankr. S.D.N.Y. 2006), aff’d, 371 B.R. 10 (S.D.N.Y. 2007); In

re Bear Stearns, 374 B.R. at 126. If the provisional relief sought is not granted, the Debtors will

be exposed to the risks detailed above, including potential enforcement actions by creditors in

the United States. Such actions on the part of creditors would violate the stay provisions of the

Preliminary CBCA Order and thereby interfere with the orderly administration of the Canadian

Proceeding, which is exactly the type of harm chapter 15 is intended to prevent. See 11 U.S.C. §

1501.

        49.    In addition, and as set forth above with respect to final recognition of the

Canadian Proceeding, the provisional relief promotes cooperation between foreign jurisdictions

and comity among tribunals. By its Preliminary CBCA Order, the Canadian Court has requested

the assistance of the Court to effectuate its orders in the United States. See Preliminary CBCA

Order ¶ 9. Accordingly, providing the requested assistance would effectuate the public policy

considerations underpinning section 1525 of the Bankruptcy Code which mandates cooperation

“to the maximum extent possible” between the Court and a foreign court. See 11 U.S.C. § 1525.

        50.    For these reasons, the Court has frequently granted requests for similar

provisional relief in chapter 15 cases. See, e.g., In re Elpida Memory, Inc., Case No. 12-10947

(CSS) (Bankr. D. Del. Mar. 21, 2012) (order granting provisional relief, including protections of

automatic stay); In re Arctic Glacier Int’l Inc., Case No. 12-10605 (KG) (Bankr. D. Del. Feb. 23,




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2012) (same); In re Angiotech Pharm. Inc., Case No. 11-10269 (KG) (Bankr. D. Del. Jan. 31,

2011) (same); In re Nortel Networks UK Ltd., Case No. 09-11972 (KG) (Bankr. D. Del. Oct. 27,

2010) (same); In re MAAX Corp., Case No. 08-11443 (CSS) (Bankr. D. Del. July 14, 2008)

(same).

                                            Conclusion

          51.   Wherefore the Foreign Representative respectfully requests that this Court grant

the relief requested in the Petitions for Recognition, and such other and further relief as may be

just and proper.


Dated: July 16, 2014        /s/ Amanda R. Steele
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